Case 1:04-cr-10043-.]DT Document 20 Filed 08/18/05 Page 1 of 6 PagelD 24
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cHRlsToPHER sHAwN TERRY *“

M. Dianne Smothers
Defense Attorney

109 S. Highland Avenue, Ste.B-S
Jackson, TN 38301

 

JUDGMENT PURSUANT TO RE-SENTENC|NG
(For Of'fenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on l\/Iay 10, 2004. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Title & Section M.U§_e Concluded Number(sl
18 USC §922(9) Convicted Fe|on in Possession of 1211 6/2003 1

a Flrearm

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. Nc. XXX-XX-XXXX
Defendant’s Date of Birth: 07/15/1975
Deft’s U.S. l\/larshal No.: 18734-076

Date of imposition of Sentence:
August 16, 2005

Defendant’s Mai|ing Address:
290 Eng|ish Street
Bolivar, TN 38008

()M/oj. QHL/

JAIV|ES ODD
CH|EF |TED STATES DlSTRlCT JUDGE

August LZ ,2005

Thls document entered on the docket s et ln cg)npllanca
with Flule 55 and!or 32{b} FRCrP on , §l j \ i § 2

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Case No: 1:03cr10097-02-T Defendant Name: Christopher Shawn Terry Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 54 Months.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States lVlarshal.

RETURN

l have executed this judgment as fc|lows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES |VlARSi-lAL
By:

 

Deputy U.S. lV|arsha|

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Case No: 1:03cr10097-02-T Defendant Name: Christopher Shawn Terry Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to Which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state

or local crime and shall not possess a firearm, ammunition1 or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. the defendant shall not leave the judicial district without the permission of the court or probation officer;

2. the defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. the defendant shall answer truthful all inquiries by the probation officer and follow the instructions of the
probation officer;

4. the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling. training, or other acceptable reasons;

5. the defendant sha|i notify the probation officer ten(10) days prior to any change in residence or
employment
6. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physician, and Sha|| submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7_ the defendant shall not frequent places where controlled substances are illegally soid, used, distributed,
or administered;

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Case No: 1:03cr10097-02-T Defendant Name: Christopher Shawn Terry Page 4 of 5

8. the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit connscation of any contraband observed in plain view by the probation officer;

10. the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer;

11. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. as directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsr and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if thisjudgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Pena|ties sheet of this judgment

ADD|T|ONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
and alcohol abuse as directed by the probation officer until such time as the defendant is
released from the program by the probation officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution

$100.00

The Special Assessment shall be due immediately.

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Case No: 1:O3cr10097-02-T Defendant Name: Christopher Shawn Terry Page 5 of 5

FlNE
No fine imposed.
REST|TUTION

No Restitution was ordered.

DISTRIC COUR - WESERNT D"CTRIT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:04-CR-10043 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

J ames W. Povvell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

